         Case
          Case2:10-cr-00407-KJD-GWF
                2:10-cr-00209-KJD -VCF Document
                                       Document 85
                                                83                  Filed 05/30/12
                                                                    Filed 06/02/12 Page
                                                                                    Page1 1ofof3 3



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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                           )
                                                         )
 9                          Plaintiff,                   )
                                                         )
10          v.                                           )           2:10-CR-209-KJD-(VCF)
                                                         )           2:10-CR-407-KJD-(RJJ)
11   COREY SMILEY,                                       )
                                                         )
12                          Defendant.                   )

13                                       ORDER OF FORFEITURE

14         On May 29, 2012, defendant COREY SMILEY pled guilty to Count One of a Four Count

15   Criminal Indictment in Docket No. 2:10-CR-209-KJD-(VCF) charging him in Count One with

16   Conspiracy to Commit Bank Fraud, Mail Fraud and Wire Fraud in violation of Title 18, United

17   States Code, Sections 1341, 1343, 1344, and 1349. And he also pled guilty to Count One of a

18   Thirteen Count Criminal Indictment in Docket No. 2:10-CR-407-KJD-(RJJ) charging him in Count

19   One with Conspiracy to Commit Wire Fraud in violation of Title 18, United States Code, Sections

20   1343, and 1349, and agreed to the forfeiture of property set forth in the Forfeiture Allegations of the

21   Criminal Indictments and agreed to in the Plea Memorandum. Criminal Indictments, ECF No 1; Plea

22   Memoranda, ECF Nos. 67 and 70; Minutes of Change of Plea Proceedings, ECF Nos. 72 and 74,

23   respectively.

24         This Court finds that COREY SMILEY shall pay a criminal forfeiture money judgment of

25   $1,569,599.00 in United States Currency to the United States of America pursuant to Fed. R. Crim.

26   P. 32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States
         Case 2:10-cr-00407-KJD-GWF             Document 85     Filed 06/02/12     Page 2 of 3



 1   Code, Section 2461(c); Title 18, United States Code, Sections 982(a)(2)(A); and Title 21, United

 2   States Code, Section 853(p).

 3        THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 4   States recover from COREY SMILEY a criminal forfeiture money judgment in the amount of

 5   $1,569,599.00 in United States Currency.

 6                    2nd day of __________________,
          DATED this ______       June               2012.

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                                                UNITED STATES DISTRICT JUDGE
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         Case 2:10-cr-00407-KJD-GWF           Document 85        Filed 06/02/12      Page 3 of 3



 1                                       PROOF OF SERVICE

 2        I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the

 3   following individuals were served with a copy of the foregoing (proposed) Order of Forfeiture on

 4   May 30, 2012, by the below identified method of service:

 5        CM/ECF:

 6
     Todd M Leventhal
 7   Flangas & Leventhal
     600 South Third Street
 8   Las Vegas, NV 89101
     Email: todlev@yahoo.com
 9   Counsel for Defendant Tarl Brandon
10

11   Robert M Draskovich , Jr.
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12   815 S Casino Center
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     Counsel for Defendant Corey Smiley
14

15   Randall J Roske
     Randall J. Roske, Law Office of
16   2055 W Charleston Blvd Suite C
     Las Vegas, NV 89102-2258
17   Email: rjroske@yahoo.com
     Counsel for Defendant Cardell Robinson
18

19

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21
                                               /s/ Elizabeth Baechler-Warren
22                                             Elizabeth Baechler-Warren
                                               Forfeiture Support Associate Paralegal
23

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